                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                GREENEVILLE DIVISION


 ULTIMA SERVICES CORPORATION,                        )
                                                     )
                Plaintiff,                           )
                                                     )
 v.                                                  )   No. 2:20-cv-00041-DCLC-CRW
                                                     )
 U.S. DEPARTMENT OF AGRICULTURE,                     )
 et al.,                                             )
                                                     )
                Defendants.                          )

            DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
           PLAINTIFF’S MOTION FOR ADDITIONAL EQUITABLE RELIEF

       “This case concerns whether, under the Fifth Amendment’s guarantee of equal protection,

[Defendants] may use a ‘rebuttable presumption’ of social disadvantage for certain minority

groups to qualify them for inclusion” in the 8(a) program. Mem. Op. & Order 1, Doc. 86. The

Court ruled that Defendants could not do so consistent with Plaintiff’s equal protection rights, id.

at 40-41, and Defendants have taken significant actions to comply with that directive at the 8(a)

program application stage and beyond, see Notice of Compliance, Doc. 88. But now Plaintiff seeks

even more—essentially, the total and permanent shutdown of the 8(a) program in certain

industries. See Doc. 93-1 at 9. This would bar not just Defendants—but every federal agency—

from using the 8(a) program in three of the largest industries used by the program. It also would

prevent 8(a) participants who never even benefitted from the presumption—and those that did but

have since established social disadvantage without it—from fully participating in a lawful federal

contracting program. There is no basis in the Court’s order or federal law for such relief.




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        Nor has Plaintiff presented anything more than conjecture to justify the drastic and

extraordinary remedies of appointing a monitor to oversee a federal agency’s application of a

regulation not even challenged here and a temporary injunction barring Defendants’ ongoing

efforts to implement the Court’s order. Plaintiff’s Motion for Additional Equitable Relief should

be denied in its entirety.

                                        BACKGROUND

        At summary judgment, the parties disputed whether SBA “may use a ‘rebuttable

presumption’ of social disadvantage” “to qualify” small businesses owned by members of certain

designated groups into the 8(a) program. Doc. 86 at 1. The Court concluded that Ultima was

injured by the “imposition of [a] barrier”—the use of the rebuttable presumption—at the

application stage. Doc. 86 at 15 (quoting Ne. Fla. Chapter, Associated Gen. Contractors of Am. v.

Jacksonville, 508 U.S. 656, 666 (1993)). The Court further held that “Defendants’ use of the

rebuttable presumption violates Ultima’s Fifth Amendment right to equal protection of the law.”

Id. at 40. To remedy this violation, the Court enjoined Defendants from “using the rebuttable

presumption of social disadvantage in administering Defendant SBA’s 8(a) program,” id. at 41,

thus “remov[ing] the race-based barrier that injures Ultima,” id. at 16-17.

        Defendants have fully complied with the Court’s order. See Doc. 88. SBA stopped

accepting new applications to the 8(a) program and issuing final decisions on any pending

applications while it worked on implementing the Court’s order. Id., ¶ 3. SBA reopened the portal

to accept new applications and resumed issuing final determinations on pending applications,

without using the presumption, on September 29, 2023. See Klein Decl. ¶ 10. SBA has traditionally

made an affirmative or negative finding of a business owner’s social disadvantage only at the

initial application stage, i.e., when deciding whether to “qualify” them for the program. However,



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in response to the Court’s order, SBA has taken actions to ensure that, going forward, only program

participants who qualify as socially disadvantaged without the use of the presumption are eligible

to participate. Thus, Defendants advised the Court that SBA will require all participants in the 8(a)

program who were admitted based on the presumption to establish social disadvantage through an

individual narrative consistent with the process that non-presumptively disadvantaged applicants

have long been required to use under 13 C.F.R. § 124.103(c). Id., ¶ 7. Further, until such reviews

are complete, SBA will not approve the award of any new contract until it has determined that the

potential awardee satisfies the requirements for social disadvantage without reliance on the

presumption. Id., ¶ 6. These efforts require a significant investment of SBA resources.

                                            ARGUMENT

I.      Defendants Are Fully Complying with the Court’s Injunction

        The Court “enjoined [Defendants] from using the rebuttable presumption of social

disadvantage in administering Defendant SBA’s 8(a) program.” Doc. 86 at 41. Defendants have

undertaken significant efforts to fully implement that directive as swiftly as possible given the size

and scope of the 8(a) program. Defendants have been transparent with the Court, Ultima, 8(a)

participants, federal agencies, and the public about the steps being taken to comply with the Court’s

injunction. See Doc. 88; Doc. 88-1 at 6-12; Klein Decl. ¶¶ 8, 14. Those efforts are consistent with

both the letter and spirit of the Court’s injunction.1

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  Plaintiff asserts that the Notice of Compliance “conspicuously” does not mention what USDA is
doing to comply with the injunction. Doc. No. 93-1, at 8. SBA is the only agency that makes 8(a)
social disadvantage eligibility determinations—and thus “uses” the presumption—and is the only
agency that “administers” the 8(a) program. USDA—and all other federal agencies—are still
impacted by the injunction and thus they are complying with the new procedures established by
SBA in response to the injunction. For instance, no federal agency, including USDA, may award
new contracts through the 8(a) program unless SBA advises that any potential awardee who
initially relied on the presumption has established social disadvantage without reliance on the
presumption. See Doc. 88 ¶ 6.


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       By and large, Plaintiff makes no complaint about Defendants’ efforts. It identifies only two

“matter[s] of concern”: how SBA reviews current participants’ efforts to re-establish social

disadvantage without the presumption and how Defendants address options on contracts awarded

before the Court’s order. Doc. 93-1 at 7-8. Defendants’ actions are consistent with the injunction

on both points.

       A. SBA is Appropriately Evaluating the Social Disadvantage of All 8(a)
          Participants Admitted to the Program Based on the Presumption.

       Plaintiff’s expressed concern about how SBA is reviewing current program participants’

efforts to establish social disadvantage appears to stem from its misunderstanding of the 8(a)

program and of what SBA is doing to comply with the injunction.

       Previously, individuals who were not members of presumptively disadvantaged groups had

to submit evidence showing, “by a preponderance of the evidence,” that they were socially

disadvantaged, 13 C.F.R. § 124.103(c)(1), while individuals who were members of those

designated groups could rely on the rebuttable presumption, id. § 124.103(b). Following the

Court’s order, SBA will require all new applicants, regardless of membership in designated groups,

to establish social disadvantage by a preponderance of the evidence in the same way, pursuant to

13 C.F.R. § 124.103(c). See Klein Decl. ¶ 2. Thus, there is no improper race-based barrier to any

applicant seeking to qualify for the 8(a) program, including Plaintiff, because SBA is not and will

not be “using” the presumption in qualifying any applicants.

       Out of an abundance of caution, SBA has treated the Court’s order as requiring more than

eliminating the presumption at the application stage. See Doc. 88 at ¶¶ 6-7. SBA ordinarily does

not review a firm’s social disadvantage after the initial application stage, but its regulations do

require it to confirm that a participant is “eligible” for the program when approving a new award

and when conducting annual business development reviews. See 13 C.F.R. §§ 124.112(b),


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124.501(g), 124.507(b). To ensure complete compliance with the Court’s order, SBA is requiring

all current 8(a) participants who were admitted to the program based on the presumption to submit

evidence establishing social disadvantage if they have not already done so in connection with a

potential contract award. Doc. 88 at ¶ 7; Klein Decl. ¶ 8. Until SBA has completed reviewing these

submissions under the preponderance of the evidence standard, SBA is requiring potential

awardees admitted to the program based on the presumption to make such a showing before any

contract award is made.2 Doc. 88 at ¶ 6; Klein Decl. ¶ 4. SBA has devoted significant additional

resources to reviewing these submissions to ensure agencies do not suffer an interruption in

essential goods and services, appropriated funds are timely obligated, and properly eligible

participants receive 8(a) mentoring services. See Klein Decl. ¶¶ 5, 9.

       Plaintiff’s suggestion (Doc. 93-1 at 8) that current participants who previously relied on

the presumption will not be held to the same standard as other applicants is without merit. Since

the Court’s order, all social disadvantage determinations have been made using the standard

previously used for applicants who were not members of the designated groups entitled to rely on

the presumption. See 13 C.F.R. § 124.103(c); Klein Decl. ¶ 2. As provided in 13 C.F.R.

§ 124.103(c), individuals must establish each of the following elements of social disadvantage by

a preponderance of the evidence:

       i.      At least one objective distinguishing feature that has contributed to social
               disadvantage, such as race, ethnic origin, gender, identifiable disability, long-term
2
  Plaintiff misinterprets the relevant regulations in asserting that evaluating a participant’s social
disadvantage before approving a contract award makes a challenge to the determination
impossible. Doc. 93-1 at 12. SBA regulations provide that “[a]nyone with information questioning
the eligibility of a Participant to continue participation in the 8(a) BD program or for purposes of
a specific 8(a) contract may submit such information to SBA under § 124.112(c).” 13 C.F.R.
§ 124.517(e). The subsection of the regulation that Plaintiff relies on merely states that the
appropriate forum for such a challenge is not through “a bid or other contract protest.” Id.
§ 124.517(a).



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                residence in an environment isolated from the mainstream of American society, or
                other similar causes not common to individuals who are not socially disadvantaged;

         ii.    The individual’s social disadvantage must be rooted in treatment which he or she
                has experienced in American society, not in other countries;

         iii.   The individual’s social disadvantage must be chronic and substantial, not fleeting
                or insignificant; and

         iv.    The individual’s social disadvantage must have negatively impacted his or her
                entry into or advancement in the business world. SBA will consider any relevant
                evidence assessing this element, including experiences relating to education,
                employment and business history (including experiences relating to both the
                applicant firm and any other previous firm owned and/or controlled by the
                individual), where applicable.

13 C.F.R. § 124.103(c)(2)(i)-(iv) (emphasis added). The regulation provides additional guidance

and information as to factors SBA considers in making the social disadvantage determinations, the

type of evidence firms must provide, and examples of the type of evidence that would be

insufficient to establish social disadvantage. Id. § 124.103(c). SBA is applying these standards to

all formerly presumptive participants, and will apply them to all new applicants, regardless of their

race.3

         Plaintiff’s concern (Doc. 93-1 at 7-8) with SBA’s process for reviewing the submissions

SBA is now requiring—including Plaintiff’s concern with whether the review involves one or four

layers and whether it occurs in 5 or 90 days—is likewise misplaced. Plaintiff attempts to compare

SBA’s review of these submissions to its review of an initial 8(a) application. But an initial

application to participate in the 8(a) program requires SBA to assess much more than social

disadvantage and is therefore significantly more complex than the submissions SBA is now

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 To support its insinuations of impropriety, Plaintiff selectively quotes from a webinar that SBA
participated in to help explain to federal agencies and 8(a) participants what changes SBA was
making to comply with the Court’s order. The entire webinar is publicly available, and the full
context of Plaintiff’s selective quotations does not show that SBA is making the process for current
participants to establish social disadvantage “easy” as compared to participants who applied
without the presumption, as Plaintiff implies. See Klein Decl. ¶ 14.

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requiring to ensure that a participant is socially disadvantaged without reliance on the presumption.

When a small business applies to be admitted to the 8(a) program, SBA must determine that the

business meets all eligibility requirements for the program, including:

              U.S. Citizenship - 13 C.F.R. § 124.101;
              Size - 13 C.F.R. § 124.102;
              Social disadvantage - 13 C.F.R. § 124.103;
              Economic disadvantage - 13 C.F.R. § 124.104;
              Ownership - 13 C.F.R. § 124.105;
              Control and management - 13 C.F.R. § 124.106;
              Potential for success - 13 C.F.R. § 124.107; and
              Other eligibility requirements (including good character) - 13 C.F.R. § 124.108.

       Determination of a business’s size, ownership, management, and control, and the business

owner’s economic disadvantage, involves a time-intensive review of extensive financial and

business records, including “financial data and statements, copies of filed Federal personal and

business tax returns, individual and business bank statements, personal history statements,” and

any other documents SBA deems necessary. 13 C.F.R. § 124.203. By contrast, the social

disadvantage determination under 13 C.F.R. § 124.103(c) usually involves only the evaluation of

the business owner’s narrative of the basis for his or her social disadvantage, see Klein Decl. ¶ 3,

and thus, takes significantly less time to complete than the evaluation of all of the remaining

eligibility requirements, in particular a business’s size and its owner’s economic disadvantage.

Plaintiff provides no basis to assume that SBA devotes less time to its social disadvantage

evaluation for current participants than for new applicants as part of the much larger initial

applicant review. And nothing in SBA’s Notice of Compliance suggests that SBA’s evaluation of

evidence of social disadvantage is truncated in any way for firms who were previously covered by

the rebuttable presumption.

       SBA, moreover, has devoted significant additional resources to completing these reviews

to ensure full compliance with the Court’s order and to avoid significant disruptions in light of the

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approaching end of the fiscal year. See Klein Decl. ¶¶ 5, 9. The federal government relies on small

businesses to provide essential goods and services. SBA, USDA, and other agencies must ensure

that appropriated funds are properly obligated before September 30 in order to carry out vital

federal programs.4

        SBA has devoted substantial resources to conduct over 1,000 reviews of firms’ social

disadvantage without use of the presumption by the end of the fiscal year. It has done so to meet

vital federal procurement needs for the upcoming fiscal year while fully complying with the

Court’s order. See Klein Decl. ¶¶ 5, 9. SBA’s extraordinary resource-intensive efforts demonstrate

its good faith and thorough compliance—not, as Plaintiff insinuates without foundation, any effort

to skirt the injunction.

        B. Defendants Appropriately Determined that Exercising Priced Options Does Not
           Involve Use of the Presumption.

        Plaintiff’s contention that the Court’s injunction prohibits Defendants from exercising

options on contracts awarded before the Court’s July 19 order is inconsistent with the Court’s order

and federal law. The Court enjoined Defendants from “using the rebuttable presumption of social

disadvantage in administering Defendant SBA’s 8(a) program.” Doc. 86, at 41. Defendants

carefully reviewed the program and concluded that Defendants can only be considered to use the

presumption in administering the program at the initial application stage or when SBA otherwise

makes an eligibility determination for the program. See supra pg. 4. Accordingly, Defendants

informed the Court that SBA would require participants who previously relied on the presumption

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  Plaintiff’s lack of clarity regarding “whether pending applications from non-minorities . . . are
given any expedited treatment” is perplexing. Doc. 93-1 at 8. Only participants who were admitted
to the program based on the rebuttable presumption must make this submission to maintain their
eligibility following the Court’s order. And they must successfully do so before they can obtain a
contract award. Doc. 88 ¶ 6. All new and pending applications will be treated in the same way
regardless of the race of the business owner. See Klein Decl. ¶ 2.


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to establish social disadvantage in accordance with 13 C.F.R. § 124.103(c) at those stages.

Defendants also were transparent with the Court that they do not interpret the injunction to apply

to contracts awarded prior to the Court’s July 19 order or to the exercise of priced options or in-

scope modifications on such contracts. Doc. 88 ¶¶ 9-10.

       Defendants are not arbitrarily picking and choosing points in the 8(a) program at which to

apply a social disadvantage review, but instead have interpreted the injunction consistent with

longstanding federal regulations. Those regulations, including both SBA regulations and the

Federal Acquisition Regulations (“FAR”),5 are explicit about the circumstances when SBA must

make eligibility determinations (and thus potentially use the presumption) and when it does not.

They provide that SBA must make an eligibility determination when accepting sole source

contracts into the program, 13 C.F.R. § 124.501(g), when approving a competitive acquisition, id.

§ 124.507(b), when reviewing participants’ annual submissions, id. § 124.112(b), and when

procuring authorities seek to exercise unpriced options and out-of-scope modifications, id.

§ 124.514(a), (c).6 SBA is not required to make such a determination when an agency exercises a

priced option or an in-scope modification.7 Plaintiff would have the Court ignore this careful

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 The Federal Acquisition Regulation (“FAR”), jointly issued by the Department of Defense, the
General Services Administration, and the National Aeronautics and Space Administration, is the
primary regulation for use by all executive agencies in their acquisition of supplies and services
with appropriated funds.
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 Other actions that require an eligibility determination include: follow-on or repetitive contracts;
substitutions (i.e., transferring a contract to a different business); novations; each task or delivery
order issued under a Blanket Purchasing Agreement or a Basic Ordering Agreement; task or
delivery order contracts, including multiple-award contracts; any sole source award; task or
delivery orders under multiple-award contracts not initially set-aside at least partially for
competition among 8(a) firms; and sole-source awards. See Klein Decl. ¶ 6.
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  As defined in the FAR, an “option” is “a unilateral right in a contract by which, for a specified
time, the Government may elect to purchase additional supplies or services called for by the
contract, or may elect to extend the term of the contract.” See 48 C.F.R. § 2.101. Priced options
are evaluated as part of the initial solicitation and competition and are included in the terms of the


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delineation of SBA’s role in the contracting process without any basis in law. The Court should

decline to do so.

II.    There Is No Basis For Imposing “Prophylactic Measures”

       Plaintiff’s request for “certain prophylactic measures” to ensure Defendants’ compliance

with the Court’s order is extraordinary and unfounded, especially considering SBA’s actions to

comply with the Court’s injunction. Doc. 93-1 at 11. Plaintiff asks the Court to (1) appoint a

monitor to review SBA’s certification of 8(a) participants that previously relied on the rebuttable

presumption or to make the social disadvantage narratives—and SBA’s decision on each of

them—public; (2) temporarily enjoin defendants from awarding, completing, modifying, or

exercising options on any contracts through the Section 8(a) Program to 8(a) participants who

benefited from the rebuttable presumption even if SBA has already established the participant’s

social disadvantage without reliance on the presumption; and (3) temporarily halt SBA’s review

of current participants’ social disadvantage pending resolution of Plaintiff’s motion. Doc. 93 at 1.

Plaintiff does not cite any source to support imposing these measures on the federal agency

defendants, nor does Plaintiff identify any evidence of improper conduct that might justify such

measures. Accordingly, the Court should deny the requested relief.

       First, the Court should reject Plaintiff’s request that the Court appoint a monitor to oversee

SBA’s social disadvantage determinations of 8(a) participants that previously relied on the


contract. 48 C.F.R. §§ 17.203(a), 17.204. Priced options also are included in the total value of a
contract. 13 C.F.R. § 124.502(c). Since priced options are part of the terms of a contract, they do
not constitute a new contract and do not exceed the initial terms of the contract. There is thus no
basis to treat the exercise of priced options on already existing contracts any differently than the
continuation of an existing contract. Other types of actions that do not involve an eligibility
determination include: in-scope modifications; competed task orders and delivery orders issued
under an 8(a) multiple award contract already accepted by SBA (e.g., GSA government-wide IDIQ
and GSA 8(a) STARS III GWAC); and task and delivery orders issued under GSA Federal Supply
Schedule contracts already accepted by SBA. See Klein Decl. ¶ 7.


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presumption. Plaintiff has not challenged SBA’s application of 13 C.F.R. § 124.103(c)—which

does not involve a racial classification—and Plaintiff has presented no evidence of any

constitutional violation related to SBA’s determinations under 13 C.F.R. § 124.103(c). Plaintiff

cites no precedent where a court has appointed a monitor to oversee federal agency operations in

like circumstances over the agency’s objection, and Defendants are aware of none. In the rare

circumstances in which a federal court has appointed a monitor to oversee a federal agency’s

operations, it has been through agreement of the parties, after a finding of contempt, or, at

minimum, where there is evidence of substantial misconduct by the government. See Cobell v.

Babbitt, 91 F. Supp. 2d 1, 55 (D.D.C. 1999) (noting that a citation for civil contempt and “the most

egregious governmental misconduct that it has ever seen” prompted the court to appoint a monitor

to ensure the Department of Interior’s compliance with discovery duties). Plaintiff does not make,

much less support, any similar allegations here. The Court should not impose such extraordinary

relief based on pure speculation, particularly given the significant separation-of-powers

implications raised by Plaintiff’s requested relief. See, e.g., Lewis v. Casey, 518 U.S. 343, 357

(1996) (appropriately limiting injunctive relief to a plaintiff’s actual injury to “prevent courts from

undertaking tasks assigned to the political branches”); People Who Care v. Rockford Bd. of Educ.,

Sch. Dist. No. 205, 111 F.3d 528, 533 (7th Cir. 1997) (noting that when injunctive relief “is

addressed to a branch of government rather than to private persons, it must be formulated with

sensitivity to the separation of powers”).

       Plaintiff’s alternative request—that the Court require SBA to make the social disadvantage

narratives public along with SBA’s determination on them—has no more merit. The narratives

(and other eligibility materials a business owner submits to SBA to establish eligibility for the 8(a)

program) are part of a “system of records” protected from disclosure by the Privacy Act. See 5



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U.S.C. § 552a(b); see also §§ 552a(a)(4) (defining record) and 552a(a)(5) (defining system of

records). As required by the Privacy Act, SBA has published a Systems of Record Notice in the

Federal Register that covers these materials. See https://www.govinfo.gov/content/pkg/FR-2023-

01-17/pdf/2023-00623.pdf. Additionally, the online portal that 8(a) applicants and participants use

to submit eligibility materials includes a notice that “SBA will protect the information you provide

in accordance with the Privacy Act of 1974 and will only share information provided as required

by law.” See Klein Decl. ¶ 13.

        While a Court may order the disclosure of records protected under the Privacy Act, in

making such a determination, courts balance the requesting party’s need for disclosure against the

potential harm to the subject of the disclosure. See, e.g., Perry v. State Farm Fire & Cas. Co., 734

F.2d 1441, 1447 (11th Cir. 1984).8 Here, Plaintiff has offered only unfounded speculation to

support its “need” for this protected information. On the other hand, the harm to small business

owners would be significant. Evidence of social disadvantage submitted by business owners

contains highly sensitive and personal information about discrimination and bias they have faced.

Requiring such information to be released publicly may dissuade small business owners from

applying to the program out of fear that their personal experiences of discrimination and bias would

be available for public consumption and judgment. Plaintiff does not specify whether this large-

scale release of Privacy Act protected information would apply to all social disadvantage narratives

submitted to SBA or only those of 8(a) participants that previously relied on the presumption. If

the latter, the result would be that only business owners of certain races would be made to submit

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  Plaintiff’s request is unusual in that rather than seeking the disclosure of records through
discovery or some other Court-managed process, Plaintiff is asking the Court to make the
narratives “public.” Plaintiff provides no basis for the Court to order such relief.




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to such scrutiny. The Court should outright reject this request, which Plaintiff fails to support with

any legal authority.

       Second, the Court should reject Plaintiff’s request to “temporarily enjoin” (until a

resolution of this motion) Defendants from “awarding, completing, modifying, or exercising

options on any contracts through the Section 8(a) Program to 8(a) participants who benefited from

the rebuttable presumption” even if SBA subsequently approved a “narrative of social

disadvantage.” Doc. 93 at 1-2. Plaintiff mentions this request in the introduction and conclusion

of its supporting brief, but never addresses or supports this request or cites a standard by which the

Court should evaluate it. That failure is reason enough to deny the request. It is unclear whether

Plaintiff’s request for the Court to “temporarily enjoin” certain actions is a request for a temporary

restraining order or some other relief. See Overstreet v. Lexington-Fayette Urban Cnty. Gov’t, 305

F.3d 566, 571-72 (6th Cir. 2002) (treating a motion for a temporary injunction as a request for a

preliminary injunction, but noting that “[b]ecause the Federal Rules of Civil Procedure do not

recognize the existence of a ‘temporary injunction,’ the district court treated the motion as a motion

for a temporary restraining order”). To the extent the Court treats Plaintiff’s vague request as one

for a temporary restraining order, Plaintiff provides no basis for this “extraordinary remedy” for

which the movant must establish that “the circumstances clearly demand it.” Blount Pride, Inc. v.

Desmond, --- F.Supp.3d ---, 2023 WL 5662871, at *3 (E.D. Tenn. Sept. 1, 2023).

       But even if the Court considered this vague request, it should reject it. Plaintiff’s failure to

support this request with any argument or discussion conceals the profound implications it would

have. If granted, SBA would be prevented from approving the award of an 8(a) contract in any

industry by any federal agency only to businesses owned by individuals of certain races—even if

those business owners have since established social disadvantage without reliance on the



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presumption. Meanwhile, SBA would be permitted to approve 8(a) contract awards to business

owned by individuals of other races.

       As to Plaintiff’s request that the Court temporarily enjoin Defendants from “completing”

any contracts, it is unclear whether Plaintiff is asking the Court to prohibit USDA from finalizing

and signing contracts already approved for award by SBA or to require USDA to issue stop work

orders on the hundreds of 8(a) contracts through which it is receiving goods and services

department-wide. These include contracts providing goods and services in industries unrelated to

those in which Plaintiff operates. Such a prohibition would dramatically disserve the public

interest. The relief Plaintiff seeks would halt all such contracts, regardless of the drastic effects

this could have on the American public. Plaintiff provides no basis for such interference and offers

no reason to conclude that such extraordinary relief is necessary to effectuate the Court’s order.

The Court has found no constitutional defect in the 8(a) program beyond SBA’s use of the

presumption; SBA has now halted all use of the presumption, so there is no basis for the Court’s

remedy to go any farther.

       Third, the Court should reject Plaintiff’s request that the Court “temporarily halt” SBA’s

review of social disadvantage of current participants, i.e., the remedial action required by the

Court’s order. Plaintiff offers no evidence to support this request. Such relief has no basis in this

Court’s order, and it would prevent federal agencies that are not a party to this litigation from

filling vital procurement needs for goods and services through the 8(a) program. It also would

prevent only 8(a) participants owned by members of certain races from receiving contracts through

the program—even if they have already established social disadvantage without the rebuttable

presumption or may be fully capable of doing so—while participants owned by other races are free

to receive 8(a) contract awards. Plaintiff offers no justification to disqualify only minority-owned



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businesses from receiving 8(a) awards, solely on the basis that they received the presumption

through no fault of their own.

        In sum, Plaintiff has given the Court no basis to presume that Defendants have violated or

will violate this Court’s order or that SBA will violate the standards in its own regulation for

determining social disadvantage. Plaintiff provides the Court with no evidence of any wrongdoing,

much less the level of misconduct that might justify the prophylactic measures it seeks. Thus, the

Court should permit Defendants to continue to fully implement the Court’s injunction.

III.    The Court Should Not Expand the Scope of the Injunction Further Than Necessary
        to Remedy the Equal Protection Violation Found by This Court

        Plaintiff is not satisfied with having an equal chance to apply to the 8(a) program or to

compete for contracts without the use of the rebuttable presumption. It now wants the Court to bar

all federal agencies from using the program in the administrative and technical support industries9

altogether—even without the presumption. Doc. 93-1 at 6. Plaintiff already made this request in

its motion for summary judgment (Doc. 60) and supporting memorandum (Doc. 60-2 at 2), but the

Court appropriately limited the injunction to the aspect of the program the Court found

impermissible—the rebuttable presumption. And to the extent the Court agrees with Defendants

that the current order does not cover options exercised on contracts awarded before that order,

Plaintiff asks the Court to expand the injunction to apply in that manner. The Court should decline

both requests as they exceed what is necessary to remedy Plaintiff’s injury, are contrary to law,

and would harm the public interest.

9
  Plaintiff defines the administrative and technical support industries as consisting of work in
NAICS codes 541611 (Administrative Management and General Management Consulting
Services), 561110 (Office Administrative Services), and 561320 (Temporary Help Services). Even
if the Court were to consider Plaintiff’s request, it should not enjoin use of the 8(a) program in
NAICS 561320 because Temporary Help Services encompasses services broader than just
administrative and technical support. See https://www.bls.gov/oes/current/naics5_561320.htm.


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         A. Prohibiting Use of the 8(a) Program Even without the Presumption Reaches
            Further Than Necessary to Remedy Plaintiff’s Injury.

         The Sixth Circuit has made clear that “[d]istrict courts ‘should not issue relief that extends

further than necessary to remedy the plaintiff's injury.’” L.W. v. Skrmetti, 73 F.4th 408, 415 (6th

Cir. 2023) (citing Kentucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023)). That is precisely what the

expanded injunction Plaintiff seeks would do, and the Court should reject it.

         In determining that Plaintiff had standing, the Court determined that Plaintiff was injured

when the rebuttable presumption “impos[ed]” an unconstitutional “barrier” to qualifying for the

8(a) program, Doc. 86 at 15, and that this injury was redressable because “[a] judgment prohibiting

Defendants from using the rebuttable presumption based on race would remove the race-based

barrier that injures Ultima,” id. at 16-17. The Court did just that when it enjoined Defendants from

using the presumption in administering the 8(a) program. Id. at 41.

         The Court’s ruling is consistent with how Plaintiff characterized its challenge to racial

discrimination in the program. In its Complaint, Ultima alleged that the 8(a) program discriminates

based on race “[b]y presuming that members of certain racial groups are socially disadvantaged.”

Doc. 1 ¶ 41. In moving for summary judgment, Plaintiff asserted that “defendants must

demonstrate that the presumption is a narrowly-tailored means of achieving a compelling

governmental interest.” Doc. 60-2 at 21 (emphasis added). And in ruling on the merits, the Court

found that “Defendants’ use of the rebuttable presumption violates Ultima’s Fifth Amendment

right to equal protection of the law.” Doc. 86 at 40. As a result, Plaintiff may apply to the 8(a)

program on the same basis as all other applicants to the program, regardless of race.10 Indeed,

10
  SBA reopened its portal to accept new applications to the 8(a) program on September 29, 2023.
See Klein Decl. ¶ 10. The revised application for all applicants includes a questionnaire process—
as opposed to an open essay format—for submitting a narrative to establish social disadvantage
for processing purposes. See Klein Decl. ¶¶ 11-12. The information and evidence required to be


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Plaintiff has asserted that “the most obvious race-neutral alternative” would be “eliminating any

presumption,” Doc. 70 at 24, and that “[e]ven if ‘Plaintiff cannot show it is likely that a favorable

decision would prevent the government from setting aside contracts for disadvantaged businesses,’

the elimination of a race-based barrier is sufficient to afford Ultima relief.” id. at 33 (internal

citations omitted).

         Now Plaintiff wants more. Plaintiff asks the Court to preclude Defendants from using the

8(a) program in the industries in which Plaintiff operates.11 Doc. 93-1 at 10. But it cannot

demonstrate it is entitled to an injunction eliminating a program that does not use a race-based

presumption or classification. Most importantly, it has not shown it suffers any cognizable harm

from an 8(a) program that operates without use of a rebuttable presumption. Any injury that

Plaintiff allegedly suffers now—by not being able to compete for contracts under a program that

does not use any race-based presumption—does not flow from the practice the Court found to be

a constitutional violation. Nor has Plaintiff alleged that SBA improperly has or will deny its entry

into the program under the post-July 19 procedures. Further, a challenge to a presumption-free

8(a) program is not before the Court, and any such challenge would be subject to rational basis

review, which it easily would survive. See Rothe Dev. Corp. v. Dep’t of Def., 836 F.3d 57, 72-73

(D.C. Cir. 2016).


submitted and the preponderance-of-the-evidence standard used for reviewing applications are
unchanged. See id. ¶ 2; see 13 C.F.R. § 124.103(c).
11
   Plaintiff does not limit its request to NRCS contracts, even though Plaintiff alleged that its
inability to compete for NRCS contracts was the basis for its standing. Indeed, Ultima has
repeatedly represented to the Court that the contracts Ultima has competed for and remains ready,
willing, and able to compete for, provide administrative and technical support not just to USDA,
but specifically to NRCS, an agency within USDA. Doc. 1 at 2; Doc. 60-1, ¶¶ 15-16; Doc. 60-4 at
¶¶ 17, 20-21.




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       In urging the Court to issue a more expansive injunction, Plaintiff cites the general principle

that a district court’s equitable powers in fashioning relief are broad. Doc. 93-1 at 9. That maxim

is of little value without a discussion of the appropriate limits placed on those powers. Indeed,

Plaintiff cites an out-of-circuit district court case to encourage the Court to expand its injunction,

but neglects to inform the Court that much of the relief granted in that decision was reversed upon

review by the Seventh Circuit. See People Who Care v. Rockford Bd. of Educ., Sch. Dist. No. 205,

111 F.3d 528, 533 (7th Cir. 1997) (confirming that the “discretionary power of a district court to

formulate an equitable remedy for an adjudicated violation of law is broad. . . . But equitable

discretion is not unlimited, and a number of principles have emerged to guide its exercise”)

(citations omitted). There, the Seventh Circuit found that much of the injunctive relief granted by

the district court violated precepts that guide the appropriate scope of equitable relief, including

avoiding enmeshing the federal court in the administration of a government program and tailoring

the remedy to the violation, “rather than the violation’s being a pretext for the remedy.” 111 F.3d

at 534. The new relief Plaintiff seeks here would do the same.

       Plaintiff also cites Dynalantic Corp. v. Department of Defense, 885 F. Supp. 2d 237

(D.D.C. 2012), where the United States District Court for the District of Columbia held that the

8(a) program is constitutional on its face, but not as applied by SBA and the Department of Defense

(“DOD”) to award contracts in the military simulation industry. Doc. 93-1 at 11. There, the court

enjoined SBA and DOD from awarding procurements for military simulators under the 8(a)

program without first articulating a strong basis in evidence for doing so. Dynalantic, 885 F. Supp.

2d at 293. But the Court in Dynalantic did not enjoin use of the rebuttable presumption, as this

Court did. Thus, the race-conscious element remained in the program. Here, having enjoined use




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of the presumption, there is no basis for the Court to further enjoin use of the program because the

race-conscious element has been eliminated for every industry.

         The injunction issued in Dynalantic also was much narrower than the injunction issued by

the Court in this case because it involved military equipment. Thus, the injunction in Dynalantic

was effective only as to the Defendant in that matter, DOD. In other words, it was tailored to

extend no further than necessary to afford that plaintiff complete relief. By contrast, Plaintiff asks

for a remedy here that would apply to every federal agency, including agencies that are not parties

to this case. Every federal agency needs administrative and technical support services, so the scope

of an injunction “tailored” as Plaintiff urges here would dwarf that in Dynalantic. In Dynalantic,

Defendant DOD could implement the injunction by restricting a small and easily identifiable

subset of DOD procurement from the 8(a) program. Plaintiff’s request here would require

government-wide sequestration from the 8(a) program of multiple types of services and awards in

multiple industries with multiple NAICS codes with no set end date.12 It would preclude all 8(a)

participants, even entity-based participants like Indian tribes and Alaska Native Corporations that

never relied on the presumption—and that the parties agree were not affected by the Court’s July

19 order—from contract awards in these industries through the 8(a) program. Such relief would

extend far beyond Plaintiff’s injury and the constitutional violation identified. Plaintiff’s efforts to

have the Court expand its injunction to reach nonparty federal agencies and small businesses

contravenes Sixth Circuit authority holding that “[a]court order that goes beyond the injuries of a

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   On September 19, 2023, counsel for Defendants conferred with Plaintiff’s counsel to clarify the
scope of the relief Plaintiff is seeking. Plaintiff’s counsel explained that if SBA is involved, which
it would be to approve the award of any contract through the 8(a) program, then it considers that a
use of the program by Defendants.




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particular plaintiff to enjoin government action against nonparties exceeds the norms of judicial

power.” Skrmetti, 73 F.4th at 415.

       B. Prohibiting USDA from Exercising Options on Contracts Would Unnecessarily
          Interfere with the Provision of Necessary Goods and Services and Extends
          Beyond Plaintiff’s Injury.

       The Court premised its determination that Ultima demonstrated standing based on

Plaintiff’s alleged injury of being unable to compete for contracts on equal footing and Ultima’s

request for prospective relief to level the playing field going forward. Doc. 86 at 17. By enjoining

Defendants from using the rebuttable presumption, Plaintiff is now able to apply to the 8(a)

program on an equal basis and is not precluded from competing equally for contracts based on

race—the criterion the Court found impermissible in its order. But Plaintiff now asks that the Court

not only level the playing field to allow it to compete equally for contracts going forward, but to

reach back and interfere with contracts already awarded to other small businesses. This includes

businesses performing work in industries unrelated to those in which Ultima operates and for parts

of USDA with which Ultima has never sought to contract. The Court should decline this request,

which would be contrary to well-established equitable principles governing the proper scope of an

injunction. See, e.g., Skrmetti, 73 F.4th at 415; Kentucky v. Biden, 57 F.4th at 556.

       The relief Plaintiff seeks would go far beyond anything needed to redress Plaintiff’s injury.

It would also unnecessarily interfere with the vital and uninterrupted provision of goods and

services to USDA. The FAR provides that one of the primary justifications for including options

in a contract is the recognition of the government’s need for continuity of operations and the

potential cost of disruptions to support. 48 C.F.R. § 17.202(d). For these reasons, the regulations

require that if an 8(a) participant is deemed no longer eligible for the 8(a) program while

performing work on a contract—whether the participant graduates from the program, is suspended,

or is terminated—the participant must keep performing work until the completion of the contract,
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including any priced options that may be exercised. 13 C.F.R. §§ 124.304(f)(1), 124.305(h)(7); 48

C.F.R. § 19.816(a) (“Except as provided in paragraph (c) of this section, when a contractor exits

the 8(a) program, it is no longer eligible to receive new 8(a) contracts. However, the contractor

remains under contractual obligation to complete existing contracts, and any priced options that

may be exercised.”) (emphasis added). Precluding USDA—or any other federal agency—from

exercising options on existing contracts would contravene existing regulations intended to avoid

disruptions to federal government operations, even though Ultima has neither challenged those

regulations nor suggested that Plaintiff is injured by them in any way.

       Were Plaintiff to succeed in all respects in its request to modify the Court’s injunction, it

would significantly limit the functions and efficacy of the 8(a) program, far beyond what is

required to excise the presumption this Court deemed unlawful. The Court should not exercise its

equitable authority to bring much of the 8(a) program—well beyond the sole aspect of the program

that Ultima has challenged in this case—to a sudden halt.

                                         CONCLUSION

       For these reasons, this Court should deny Plaintiff’s motion to expand the Court’s

injunction and deny Plaintiff’s request for prophylactic measures related to Defendants’

implementation of the injunction.


Dated: September 29, 2023


                                                  Respectfully submitted,

                                                  KAREN D. WOODARD
                                                  Chief
                                                  Employment Litigation Section
                                                  Civil Rights Division
                                                  United States Department of Justice


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                                CERTIFICATE OF SERVICE


        I hereby certify that on September 29, 2023, I electronically filed the above document
with the Clerk of the Court using the ECF System, which will send notification of such filing to
all counsel of record.


                                                    /s/ Juliet E. Gray___________
                                                     Juliet E. Gray
                                                     Senior Trial Attorney




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